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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF OKLAHOMA


TATUM ROBERTSON, EVE BRENNAN, and
MARIN RHODES, individually and on behalf of
all those similarly situated,

                  Plaintiffs,

v.
                                                                Civil Action No. CIV-22-0836-HE
UNIVERSITY OF CENTRAL OKLAHOMA and
BOARD OF REGENTS FOR THE REGIONAL
UNIVERSITY SYSTEM OF OKLAHOMA,
                  Defendants.


              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

          Notice is hereby given that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

Plaintiff Marin Rhodes voluntarily dismisses without prejudice her claims against Defendants.

This notice of dismissal is being filed with the Court before Defendants filed and served either an

Answer or a Motion for Summary Judgment. The claims of Plaintiffs Tatum Robertson and Eve

Brennan and the putative classes they represent are not dismissed or otherwise affected by this

Notice.

                                                         Respectfully Submitted,

Dated: September 30, 2022                                BAILEY & GLASSER, LLP

                                                          __/s/ Lori A. Bullock
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                                 CERTIFICATE OF SERVICE

The undersigned hereby certifies that on September 30, 2022, a true, correct, and exact copy of the
foregoing document was served via electronic notice by the CM/ECF filing system to all parties
on their list of parties to be served in effect this date. The undersigned also hereby certifies that
Plaintiffs will personally serve the foregoing document upon any parties not served by the
CM/ECF filing system for this matter.

                                                               /s/Lori A. Bullock
                                                               Lori Bullock




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